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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION




UNITED STATES OF AMERICA,                      :       Case No. 1:16-cr-00093
                                               :
        Plaintiff,                             :       Judge Susan J. Dlott
                                               :
   v.                                          :       ORDER
                                               :
DAVID M. NORRIS,                               :
                                               :
        Defendant.                             :

         This matter is before the Court on Defendant’s Motion to Sever Count Three from Counts

One and Two in the Indictment (Doc. 19), which the Government opposes (Doc. 24). Defendant

has filed a reply, along with a Motion to Exclude Prior Conviction. (Doc. 25.) Also before the

Court, and related to Defendant’s Motions to Sever and to Exclude, is the United States’ Notice

of Intent to Introduce Evidence Pursuant to F.R.E. 404(b)(2), and its request that the Court issue

a ruling in limine that evidence of Defendant’s other crimes, wrongs, or acts are admissible at

trial. (Doc. 27.) Defendant has filed a Reply in Opposition to the Government’s Notice to

Admit Other Acts Evidence Under Rule 404(b). (Doc. 28.) A hearing took place on February

21, 2017 as to all matters. (Docs. 29–31.) With the Court’s approval, Defendant filed a post-

hearing supplemental memorandum. (Doc. 32.)

         For the reasons that follow, Defendant’s Motion to Sever will be DENIED, but his

alternate Motion to Bifurcate will be GRANTED; and Defendant’s Motion to Exclude will be

GRANTED IN PART and DENIED IN PART. As to the United States’ Rule 404(b)(2) Notice,

this Court determines that evidence of Defendant’s acts that underpin his 2005 state law

conviction will be ADMISSIBLE at trial for the sole purpose of identity.


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I.      BACKGROUND

        A. The Pleadings

           1. Defendant’s Motion to Sever, or in the Alternative, Bifurcate

        Defendant is charged with advertising child pornography in violation of 18 U.S.C. §

2251(d) (Count 1), distribution of child pornography in violation of 18 U.S.C. § 2252(a)(2),

§ 2252(b)(1) (Count 2), and penalties for registered sex offenders as set forth in 18 U.S.C. §

2260A (Count 3). (Doc. 1.) Notably, Count 3 of the indictment becomes relevant only if the

United States is able to secure a conviction on Count 1, advertising. This is because Count 2,

distribution, is not one of the enumerated federal offenses that triggers the enhanced statutory

penalty under § 2260A, which reads as follows:

               Whoever, being required by Federal or other law to register as a sex
        offender, commits a felony offense involving a minor under section 1201, 1466A,
        1470, 1591, 2241, 2242, 2243, 2244, 2245, 2251, 2251A, 2260, 2421, 2422, 2423,
        or 2425, shall be sentenced to a term of imprisonment of 10 years in addition to
        the imprisonment imposed for the offense under that provision. The sentence
        imposed under this section shall be consecutive to any sentence imposed for the
        offense under that provision.

(Emphasis added.) To secure a conviction on Count 3, then, the United States must prove that

Defendant committed the federal offense of advertising child pornography as alleged in Count 1

and that he committed that offense while being required to register as a sex offender. Thus, as to

the second element, the United States will be required to introduce evidence related to

Defendant’s prior state conviction, attempted unlawful sexual conduct with a minor in violation

of Ohio Rev. Code § 2923.02.

        Defendant acknowledges that all three counts are correctly joined under Fed. R. Crim. P.

8(a). (Doc. 19 at PageID 47.) But, pursuant to Fed. R. Crim. P. 14(a), he asks the Court to sever

Count 3 from Counts 1 and 2, claiming prejudice. (Id. at PageID 45, 47, 50.) Because it



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necessarily results in a “multiplicity” 1 of litigation, a defendant must show “compelling,

specific, and actual prejudice” that would result from a trial court’s refusal to sever. United

States v. Saadey, 393 F.3d 669, 678 (6th Cir. 2005).

           In support of substantial prejudice, and noting the context of a child pornography

prosecution, Defendant cites United States v. Stout, 509 F.3d 796 (6th Cir. 2007). There the

Government filed a notice of intent to introduce evidence of Stout’s state court conviction for

surreptitiously videotaping a neighbor’s 14-year-old daughter in the shower to demonstrate his

“knowledge and intent to receive and possess child pornography, as well as lack of mistake or

accident.” Id. at 798 (internal citation and quotation omitted). Stout then filed a motion in

limine pursuant to Fed. R. Evid. 404(b) and 403,2 asking the trial judge to suppress evidence of

the prior conviction as significantly more unfairly prejudicial than legitimately probative. The

district court granted the motion in limine and excluded the prior bad acts evidence, and the Sixth

Circuit affirmed. Id. at 799–804. The Sixth Circuit observed:

           The public regards sexually-based offenses as particularly heinous. Sex offenders
           are required to register in the communities in which they live because of the
           perceived danger that they will act in conformity with their prior bad acts. In this
           respect, admission of prior convictions for sex crimes under Rule 404(b) in
           sexually-based offense cases presents a greater risk of the always present danger
           that the jury will convict the defendant on an improper basis—the propensity
           inference. A district court is free to consider that potential for unfair prejudice in
           its balancing.

Id. at 802. The district court also noted that a limiting instruction would be insufficient to guard

against unfair prejudice, and the Sixth Circuit agreed. Id. Additionally, Defendant cites United


1
    Severance would require impaneling two juries, a costly proposition that district courts typically wish to avoid.
2
    Fed. R. Evid. 403 reads as follows:

                   The court may exclude relevant evidence if its probative value is substantially
           outweighed by a danger of one or more of the following: unfair prejudice, confusing the issues,
           misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.

(Emphasis added.)

                                                             3
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States v. Hough, 385 F. App’x 535 (6th Cir. 2010), which affirmed a district court’s decision to

exclude from a child pornography (attempted receipt and possession) prosecution two reports of

child molestation, a state criminal conviction for child molestation, and a state civil default

judgment for child molestation. The evidence was admissible under Fed. R. Evid. 414 (Similar

Crimes in Child-Molestation Cases), but the district court did not err in excluding it under Rule

403. Id. at 536.

         As an alternative to severance, because Fed. R. Crim. P. 14(a) allows a court to “provide

any other relief that justice requires,” Defendant asks for bifurcation, permitting the jury to hear

evidence related to Count 3 only if the United States first secures a conviction on Count 1. (Id.

at PageID 45, 47, 51.)3 In support, Defendant cites United States v. Never Misses A Shot, No.

13-30013-RAL, 2013 WL 3872837 (D.S.D. July 25, 2013). In that case the defendant was

indicted with two counts of aggravated sexual abuse of a child and two counts of abusive sexual

contact of a child. Id. at *1. He also was accused of having committed the abusive sexual

contact in one of the two counts at a time when he was required to register as a sex offender, and

so he likewise was charged with a violation of § 2260A. Id. To avoid “any possibility that the

jury might infer [the defendant] is guilty of Counts I through IV because of his alleged status as a

registered sex offender,” the trial judge agreed to conduct the trial in two phases. Id. at *3.

         In response, the United States argues that Defendant’s assertion of prejudice is

conclusory and, regardless, his prior conviction would be admissible under Fed. R. Evid. 413 and

414. (Doc. 24 at PageID 60.) It does not attempt to distinguish Never Misses A Shot. The



3
 Specifically, Defendant states that “[w]hile Mr. Norris is requesting severance of the counts, he acknowledges and
would be agreeable to a bifurcated trial, as it is an equally effective avenue to provide the relief he is seeking.”
(Doc. 19 at PageID 51.) At the February 21, 2017 hearing discussed infra, defense counsel stopped short of
withdrawing her client’s request to sever, but acknowledged again that bifurcation would be a more practical
solution.

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United States’ brief prompted not only a reply from Defendant4 but also a preemptive Motion to

Exclude Prior Conviction. (Doc. 25.) The United States’ formal Rule 404(b)(2) Notice

followed. (Doc. 27.)

             2. The United States’ Notice of Intent to Introduce Evidence Pursuant to
                Fed. R. Evid. 404(b)(2)

         Evidence of a “crime, wrong, or other act” is inadmissible to prove propensity, but

admissible for other purposes, “such as proving motive, opportunity, intent, preparation, plan,

knowledge, identity, or absence of mistake, or lack of accident.” Fed. R. Evid. 404(b)(1), (2).

This rule “actually is a rule of inclusion rather than exclusion, since only one use is forbidden

and several permissible uses of such evidence are identified.” United States v. Carney, 387 F.3d

436, 450 n.11 (6th Cir. 2004) (citation and quotation omitted).

         At trial, the United States seeks to introduce evidence of Defendant’s prior 2005 conduct

of utilizing a similar screen name, engaging in similar conversations regarding the sexual abuse

of children, and using identical verbiage as alleged with respect to the current charged offenses.

(Doc. 27 at PageID 75.) The United States is not seeking to introduce the fact that Defendant

was convicted in connection with his 2005 conduct; rather, it wishes to introduce only the acts

themselves because of their “extraordinary” similarities to his conduct in 2012. (Id.) The United

States contends that the other acts evidence is admissible to establish Defendant’s identity and to

show his motive, intent, and knowledge in committing the crimes charged. (Id. at PageID 76–

82.)


4
  Defendant challenges the assertion that his prior conviction is admissible under either Fed. R. Evid. 413 or 414.
(Doc. 25 at PageID 65–66.) The Court agrees. On its face, Rule 413 does not apply because it addresses admission
of a prior “sexual assault” in a case involving an accusation of “sexual assault.” (Id.) As to Rule 414, the allegation
of advertising child pornography does meet the definition of “child molestation.” Still, it does not pertain, because
the Rule defines “child” as a person below the age of 14 and the “victim” in Defendant’s prior state conviction was
an undercover officer posing as a 14-year-old female. (Id. at PageID 66.) At the February 21, 2017 hearing
discussed infra, the United States confirmed that it would not seek to introduce evidence of Defendant’s prior
conviction, or the facts underlying that conviction, pursuant to Rule 414.

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                 a. Current Charged Offenses

        In its Notice, the United States proffered the following facts with respect to the current

charged offenses. In May 2012, an undercover investigator working with the Woodstock,

Virginia police was conducting online child pornography probes. (Id. at PageID 72.) Portraying

himself to be a 37-year-old mother of two girls (ages seven and twelve), the investigator entered

a chat room on an “UnderNet”5 server. (Id.) An individual using the screen name “Hrtcnt”

initiated a private chat with him, beginning their exchange with “hello, were you used young.”

(Id.) Later in the chat “Hrtcnt”—who stated he was 30-years-old6—asked the investigator, “Do

your girls get used?” (Id.) “Hrtcnt” also stated he had had sex with a six-year-old girl in the

past, whose mother was a “stripper/escort” and out at night. (Id. at 73.) “Hrtcnt” told the

investigator that he did not trade child pornography in the chat room in which they were

conversing. (Id.) However, he posted a direct link to the tor7 browser and gave the investigator

his screen name and added him as a friend. (Id.) When their conversation resumed, “Hrtcnt’s”

screen name changed to “wntlilgrl,” who then provided links to a “bunch of vids” and a “bunch

of pics”—both depicting child pornography—as well as links to other webpages where child

pornography could be accessed. (Id.) “wntlilgrl” also sent a video depicting what appeared to be

an adult male having anal sex with a small child, who, according to “wntlilgrl,” was two-years-

old. (Id.) After sending the video, “wntlilgrl” asked the investigator, “When you think of lil

girls being used do you prefer them to like it or don’t care?” (Id.) Following up, “wntlilgrl”




5
  The United States represents that the “UnderNet” is a network of Internet Relay Channels on the Internet, allowing
users to connect from multiple countries and numerous servers. (Doc. 27 at PageID 72 n.1.)
6
  The United States represents that Defendant turned 30-years-old the month prior. (Doc. 27 at PageID 72 n.2.)
7
  The United States represents that “tor,” an acronym for “the onion routing,” is a web browser designed for
anonymous web surfing and protection against traffic analysis, providing protection from capturing Internet Protocol
(“IP”) addresses. (Doc. 27 at PageID 73 n.3.)

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stated the he “get[s] harder when they don’t like it” and he thinks “girls get used to it faster and

are more obedient when they are hurt and punished more as well.” (Id.)

       During their initial chat, the investigator was able to capture “Hrtcnt’s” IP address. (Id.)

The service provider was Time Warner Cable/Road Runner in Ironton, Ohio, and the subscriber

was Connie Norris, 114 S. 7th Street, Ironton, Ohio 45638. (Id. at PageID 73–74.) The matter

then was referred to the Cincinnati Field Office for Homeland Security, where Defendant, a

registered sex offender, was identified as a potential resident at the Ironton address. (Id. at

PageID 74.)

               b. Other Acts Evidence

       In its Notice, the United States proffered that an undercover officer with the Westerville,

Ohio police department would testify that he engaged in an online chat with Defendant on June

10, 2005. (Id. at PageID 76.) During that chat, Defendant, using the screen name “hrtg_1,”

made statements to the effect that he likes to sexually hurt and abuse young girls. (Id.)

       B. The February 21, 2017 Hearing

       During direct examination by the United States, as promised, City of Westerville Police

Officer Brett Peachey testified that he engaged in an online chat with Defendant on June 10,

2005, posing as a 14-year-old girl. During the chat, Officer Peachey identified himself as

“columbus_girl_larissa.” Defendant, using the screen name “hrtg_1,” asked “larissa” if she had

been “used” before, and told her he liked to abuse girls and hurt them with sex. He asked her for

sex, and promised to bring condoms and vodka. Defendant told “larissa” that he was 23-years-

old and his name was David. He described himself as 6’3” tall and weighing 220 pounds, with

auburn hair. “larissa” asked Defendant to call her cell phone when he was half-an-hour away

from the address she gave him, and also asked what kind of car he would be driving. When



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Defendant arrived in the vehicle he had described, Officer Peachey was waiting. In Defendant’s

possession—besides condoms and vodka—were directions to the address given, along with the

name “larissa” and “her” cell phone number written on a piece of paper.

         The dialogue between “columbus_girl_larissa” and “hrtg_1” was transcribed and used as

evidence in the successful prosecution of Defendant for attempted unlawful sexual conduct with

a minor, which then required him to register as a sex offender under Ohio law. Officer Peachey

identified the transcript for this Court, which was admitted into evidence as Government

Exhibit 1. He identified Defendant, who was present in the courtroom, as the individual who

arrived some 12 years earlier to have sex with “columbus_girl_larissa.”

         The United States also proffered two other transcripts, marked as Exhibit 2a (“MIRC

Chat”) and 2b (“TOR Chat”). Exhibit 2a memorializes an online chat beginning on May 10,

2012 at 14:00:43 initiated by “Hrtcnt” with “love4pedo,” the screen name used by the

Woodstock, Virginia investigator. Exhibit 2b is the transcript of the follow-up conversation

between “wntlilgrl” and “myself” on the tor browser that begins at 15:39:27 and ends at

16:41:36.

II.      ANALYSIS

         The Court will consider first whether the other acts evidence described in the United

States’ Notice will be admissible at trial, as this decision will inform our rulings on Defendant’s

pending motions.

         A. The United States’ Rule 404(b)(2) Notice

         In deciding whether to admit evidence of Defendant’s 2005 conduct under Rule 404(b), a

court must determine whether: (1) sufficient evidence exists that the other acts occurred; (2) the

other acts are admissible for a proper purpose; and (3) the probative value of the evidence is



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substantially outweighed by the danger of unfair prejudice or the other concerns under Fed. R.

Evid. 403. United States v. Allen, 619 F.3d 518, 523 (6th Cir. 2010) (citation omitted); United

States v. Bell, 516 F.3d 432, 440–41 (6th Cir. 2008) (quotation and citation omitted). Each factor

will be addressed in turn.

           1. Did the other acts occur?

       The United States has more than met its burden in this regard. Officer Peachey’s

testimony, combined with the chat transcript he identified, provides an ample basis upon which a

jury reasonably could conclude “that the act occurred and that the defendant was the actor.”

United States v. Johnson, 458 F. App’x 464, 470 (6th Cir. 2012) (quoting Huddleston v. United

States, 485 U.S. 681, 689 (1988)). Johnson reiterates the principle that the testimony of a single

witness can be sufficient, even if that witness “is less than completely reliable.” Id. (citing

United States v. Matthews, 440 F.3d 818, 828–29 (6th Cir. 2006)). Hence, defense counsel’s

attempt to discredit Officer Peachey—by challenging his ability to identify Defendant on

February 21, 2017 as the same individual he arrested nearly 12 years ago—does not alter this

Court’s finding.

           2. Are the other acts admissible for a proper purpose?

       As recited earlier, the United States contends that the other acts evidence is admissible to

establish Defendant’s identity and to show his motive, intent, and knowledge in committing the

2012 crimes charged.

               a. Identity

       The United States advises that identity will be a “central” issue at trial on Counts 1 and 2.

(Doc. 27 at PageID 77.) “Hrtcnt’s” IP address was traced to a Connie Norris in Ironton, Ohio.

(Id.) Connie Norris is Defendant’s mother. (Id.) And even though he rented an apartment in



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Columbus, on May 10, 2012 Defendant happened to be staying with her. (Id.) His two brothers,

however, also were staying at the Ironton address. (Id.) Thus, at trial, it will be necessary for the

United States to prove that Defendant—as opposed to his mother or either one of his two

brothers—advertised and distributed child pornography. (Id.)

       “Prior acts or crimes can be admitted to show identity, provided they are ‘of sufficient

distinctive similarity’ with the charges in the indictment to ‘create a pattern or modus operandi.’”

United States v. Allen, 619 F.3d 518, 524 (6th Cir. 2010) (quoting United States v. Perry, 438

F.3d 642, 648 (6th Cir. 2006)). The crimes need not be “identical in every detail.” Perry, 438

F.3d at 648 (quoting United States v. Hamilton, 684 F.2d 380, 385 (6th Cir. 1982)). Moreover,

“standard conduct, although not particularly unusual by itself, may, in combination, present an

unusual and distinctive pattern constituting a ‘signature.’” United States v. Mack, 258 F.3d 548,

554 (6th Cir. 2001).

       Linking Defendant’s 2005 chat with the 2012 chats are three “distinctive patterns”

according to the United States. First, the online chat handles are similar. On June 10, 2005,

Defendant used the screen name “hrtg_1,” which the jury reasonably could conclude is shorthand

for “hurt girl.” On May 10, 2012, the subject used the screen name “Hrtcnt,” which the jury

reasonably could conclude is shorthand for “hurt cunt.”

       The use of “hrt”—followed by a female reference—suggests a second similarity, in that

both sets of chats repeatedly reference hurting young girls through sex. In the June 10, 2005

chat, Defendant, calling himself “hrtg_1,” had the following exchange with Officer Peachey,

posing as a 14-year-old girl:

       columbus_girl_larissa: what do u like
       hrtg_1: abusing girls
       columbus_girl_larissa: oh yeah.
       columbus_girl_larissa: how os

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       columbus_girl_larissa: so
       hrtg_1: any way, sex, hurting them, . . .

(Government Exh. 1 at 1.) Defendant also stated that he liked to “beat” girls with a “hand, belt,

electrical cord,” and specific to “larissa,” he wanted to “fuck and abuse you” and “spank you

until you are to [sic] sore to touch.” (Id. at 3, 4.) “Hrtcnt,” known as “wntlilgrl” while on the tor

browser, made comparable statements on May 10, 2012, telling “love4pedo” that “I get harder

when they don’t like it . . . I think girls get used to it faster and are more obedient when they are

hurt and punished more as well.” (Government Exh. 2b at 2.)

       The third likeness centers around use of the word “used.” At the beginning of the June

10, 2005 chat, after learning that “larissa” was 14-years-old, Defendant asked her, “Like to be

used?” (Government Exh. 1 at 1 (emphasis added).) When “she” replied “sometimez,”

Defendant’s immediate follow-up was, “How have you been used before?” and clarified that he

meant “regular sex.” (Id. (emphasis added).) In like fashion, in the first chat on May 10, 2012

on the UnderNet, “Hrtcnt’s” very first question to “love4pedo” was, “Hello, were you used

young?” (Government Exh. 2a at 1 (emphasis added).) When their chat resumed some 45

minutes later on the premise that “love4pedo” needed to pick up “her” girls (ages seven and

twelve), “Hrtcnt’s” began with “Do your girls get used?” (Id. (emphasis added).) And, when

chatting on the tor browser, “wntlilgrl” asks “love4pedo” her predilection, “When you think of lil

girls being used do you prefer them to like it or don’t care?” (Government Exh. 2b at 2

(emphasis added).)

       Defendant disputes the existence of any sort of signature. He argues that the handle

“hrtg_1” ends in the number “1,” not in the letter “l.” During cross examination, Officer

Peachey was presented with the Incident Report and the Criminal investigation Summary he




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completed in connection with Defendant’s arrest in 2005.8 And, indeed, he confirmed that he

recorded Defendant’s chat handle as ending in the number “1” on both documents. Defendant

contends that little is unique about the first three letters of the screen names—“hrt”—a truncation

that could just as easily stand for something completely innocuous, like “heart” instead of “hurt.”

Defendant also argues that the 2005 chat provides significant detail about the speaker’s sexual

proclivities, noting a preference to abuse through spanking and beating with a hand, belt, or

electrical cord. In contrast, though, “wntlilgrl” on the tor browser stated he simply preferred sex

with girls who “don’t like it.” Finally, Defendant contends that the speaker’s employment of the

word “used” in both the 2005 and 2012 chats is a “normal” use of that term and should be

interpreted vis-à-vis “relationships, breakups, and human interactions.” (Doc. 28 at PageID 96–

97 (“he used me [for sex]” and “I felt used [for sex]”).)

        The Court appreciates the very creative arguments of defense counsel on paper and in the

courtroom, but is not persuaded by them. Regarding the screen handles, Officer Peachey’s

perception in 2005 that Defendant’s name ended in the number “1” rather than the letter “l” is

not determinative. In the Times New Roman font, in which this Order is memorialized, the

number “1” and the letter “l” look sufficiently alike to be mistaken for one another. In the

Courier New font, in which the transcript of the 2005 chat appears, the number “1”

and the letter “l” look remarkably the same. This resemblance—considered in the

framework of the conversations in 2005 and 2012 about girls being “used”9 for forced, forceful,

and rough sex—convinces the Court that there is a “distinctive pattern” between the chats in

which “hrtg_1” (in 2005) and “Hrtcnt” (in 2012) engaged.


8
 These documents were marked as Defendant’s Exhibits 1 and 2, respectively, but were not moved into evidence.
9
 Defense counsel insists that use of the word “used” should be understood as merely the equivalent of one girlfriend
complaining to another, “He used me for sex.” In the Court’s view, though, that lament describes a victim of
emotional manipulation, not sexual abuse.

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        “Signature” conduct is admissible to prove identity, as was the case in United States v.

Delaney, 443 F. App’x 122 (6th Cir. 2011). Delaney was convicted of sexual exploitation of

children, as well as distribution and possession of child pornography. Id. at 124. On appeal, he

argued that the district court erred when, at trial, it admitted transcripts of instant message

conversations with three undercover police officers pursuant to Rule 404(b) to show his

knowledge and intent and the absence of mistake or accident. Id. at 130–33. The Sixth Circuit

found that the transcripts were admissible not only for those purposes, but also for identity, a

ground not considered by the district court:

        At trial, the government alleged that Delaney met Amanda, the victim in this case,
        on the Internet and communicated regularly with her using instant messaging
        from the screen name “Z Camaro Guy.” Delaney’s interactions with the three
        undercover police officers were the same: He met them on the Internet,
        communicated with them on instant messaging using the screen name “Z Camaro
        Guy,” and sent them pictures of himself. These interactions indicate a pattern of
        behavior that is consistent with the charged offense. Accordingly, the evidence
        was admissible for purposes of identity. See Perry, 438 F.3d at 648 (affirming
        admission of other acts evidence that established a distinctive “signature”).

Id. at 132.

        Defendant Norris’ attempts to distinguish Delaney are unconvincing. He accurately

points out that Delaney used the exact same screen name, “Z Camaro Guy,” in each of the chats.

Defendant Norris notes additionally that his 2005 chat with Officer Peachey was one in which he

solicited sex from “larissa,” a girl he believed to be a minor, and the subject 2012 chats were

with an adult about trading child pornography on the Internet. The Court does not read Delaney,

in its application of Perry, as requiring that screen names be identical. Rather, what is required

by Perry is “sufficient” distinctive similarity to establish a pattern. And, when considered in

context, “hrtg_1” and “Hrtcnt” are sufficiently distinctive and sufficiently similar. In the course

of soliciting sex from 14-year-old “larissa,” at the beginning of their chat Defendant peculiarly



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asked her if she liked to be “used,” and persisting, then asked how she had been “used.”

Consistent with Defendant’s 2005 chat, “Hrtcnt’s” very first question to “love4pedo” was

whether she was “used” young. Next, purportedly after “love4pedo” picked up her seven and

twelve-year-old girls, “Hrtcnt” immediately asked if her girls get “used.” And, once on the tor

browser, “Hrtcnt” turned “wntlilgrl,” unrelenting, asked “love4pedo” whether or not she

preferred little girls being “used” to like it.

         Sufficient evidence of a “signature” has been proffered by the United States. The other

acts evidence, therefore, is admissible for a proper purpose, namely identity.

                  b. Motive, Intent, and Knowledge

         The Court does not believe, however, that the other acts evidence is admissible for

motive, intent, or knowledge. On its face, the motive in the 2005 chat was to meet a girl and

engage in rough sex. In the current charged offenses, the motive is to trade child pornography.

These motives are distinctly different. Regarding intent, the Sixth Circuit recently clarified that

“other acts evidence is permitted to show intent when the defendant is charged with a crime

containing a specific intent element.” United States v. LaVictor, No. 15-1580, 2017 WL 461009,

at *9, ___F.3d___ (6th Cir. Feb. 3, 2017). Here, though, Defendant is charged only with general

intent crimes,10 and defense counsel represents that her client’s defense “will not put intent at

issue during the trial.” (Doc. 28 at PageID 101–02.) The Court observes again that the 2005

chat and the current charged offenses involve distinctly different conduct, and occurred seven

years apart. Thus, while properly considered for identity, the other acts evidence plainly is not

probative of intent. United States v. Bell, 516 F.3d 432, 444 (6th Cir. 2008) (“[T]he prior


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  “[A] specific intent crime is one that requires a defendant to do more than knowingly act in violation of the law.”
United States v. Gonyea, 140 F.3d 649, 653 (6th Cir. 1998) (emphasis added) (citations omitted). “[A] general
intent crime, by contrast, requires only that a defendant ‘intend to do the act that the law proscribes.’” Id. (citations
omitted).

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convictions were for offenses that occurred several years previously and were not alleged to be

part of the same scheme to distribute drugs or to involve a similar modus operandi. Such

evidence of prior distribution, unconnected to the present charge, is not probative of whether Bell

intended to possess and distribute drugs in the instant case.”). Finally, as to knowledge, defense

counsel also represents that her client’s defense “does not involve challenging whether he

knowingly intended to distribute and advertise child pornography.” (Doc. 28 at PageID 100

(emphasis in original).) Based on such a proffer, the Court concludes that the other acts evidence

is inadmissible for this purpose as well. United States v. Jenkins, 345 F.3d 928, 937 (6th Cir.

2003) (“Her defense at trial was that she did not know—and the Government had failed to prove

otherwise—that the express mail package contained crack cocaine. Thus, Jenkins’ knowledge

was ‘in issue’ during her trial.”).

                c. Does the danger of unfair prejudice substantially outweigh the probative
                   value of the other acts evidence?

        A district court should consider the Government’s “alternative sources” of proof when

weighing the probative value of other acts evidence under Rule 403. Bell, supra, 516 F.3d at

445. According to defense counsel, there is “ample” evidence that exists to show that Defendant

was the person who engaged in the 2012 chats. First, the IP address used by “Hrtcnt” was traced

to Defendant’s mother’s residence, and Defendant apparently admitted to being present there

during the time frame of the May 2012 chats. (Doc. 28 at PageID 104.) Second, “Hrtcnt” told

“love4pedo” that he was 30-years old, and the United States, in its Rule 404(b)(2) Notice,

comments that Defendant had turned 30 a month prior to the May 2012 chats. (Id.) And, third,

defense counsel represents that discovery makes “clear” that no one else associated with the

residence was 30-years-old when the May 2012 chats took place. (Id.) This argument

overreaches.

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         In Bell, the defendant was charged with possession of marijuana and cocaine with intent

to distribute. 516 F.3d at 436. The district court admitted four prior state court drug convictions

under Rule 404(b)(2) for the purpose of proving absence of mistake or accident and intent. (Id.)

It was error to admit the evidence with respect to absence of mistake or accident because the case

did not present that issue, opined the Sixth Circuit, and it was error with respect to intent because

the prior distributions were not part of the same scheme or modus operandi as the present

offense. Id. at 442–43. Moreover, the district court erred in the final step of its Rule 404(b)(2)

analysis, because “the strength of this other evidence of intent11 was so overwhelming that the

evidence of Bell’s prior convictions could only have been marginally probative at best.” Id. at

444, 446. Here, the United States’ evidence of identity is considerably less strong, such that

admission of the 2005 chat would be compellingly probative. But the question of prejudicial

impact obviously remains. Id. at 446.

         In United States v. Stout, discussed supra at page 3 of this Order, the district court

acknowledged the Government’s need for the prior bad acts evidence to prove intent and

knowledge, but noted that other means of proof existed—such as the testimony of the

defendant’s ex-wife that the Internet history files on their computer indicated that Stout had been

searching for child pornography—to prove his intent “in a less prejudicial manner.” 509 F.3d at

800. The Sixth Circuit affirmed the trial judge’s ruling, and quoted extensively from the district

court’s opinion:

         The prior bad acts evidence is potentially prejudicial because it is both
         inflammatory and distracting. It is more lurid and frankly more interesting than
         the evidence surround the actual charges. Any jury will be more alarmed and
         disgusted by the prior acts than the actual charged conduct. As a consequence,


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  The other evidence of intent consistent with distribution included recovery of more than 20 pounds of marijuana,
packaged in small amounts, and over 90 grams of crack cocaine, as well as drug scales, a cutting board, baggies,
cigar “blunts,” and other drug paraphernalia. 516 F.3d at 446.

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         the jury is likely to pay undue attention to it. . . . [T]here is a strong possibility
         that the jury will be improperly distracted from the primary evidence at hand.

Id. at 801.

         After careful consideration, this Court does not believe that the 2005 chat and the

testimony of Officer Peachey will “predominate” the trial. See id. Officer Peachey posed as a

14-year-old. In contrast to the circumstances in Stout, there was no betrayal of family friendship,

no surreptitious filming in an area of the home where privacy is considered sacrosanct, and no

actual 14-year-old victim. The probability that a jury would improperly consider the 2005 chat

as propensity evidence thus is dramatically reduced, and a limiting instruction that the other acts

evidence be considered for purposes of identity only should mitigate any danger of unfair

prejudice.12 See United States v. Washam, 468 F. App’x 568, 573 (6th Cir. 2012) (“[L]imiting

instructions go a long way to reducing any possible prejudice from Rule 404(b) evidence.”)

(citing United States v. Lattner, 385 F.3d 947, 958 (6th Cir. 2004)).

         B. Defendant’s Motions

         Remaining for decision are rulings with respect to Defendant’s Motion to Sever, or in the

alternative, Bifurcate and Defendant’s Motion to Exclude. The United States has represented

that it is not seeking to introduce the fact of Defendant’s 2005 state conviction, one that requires

him to register as a sex offender. (Doc. 27 at PageID 75.) The Court concludes, therefore, that

bifurcation of Count 3 is appropriate. In the event the United States secures a conviction on

Count 1, the jury will be permitted to hear evidence of his state conviction in its case-in-chief


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   United States v. Hough, also discussed supra at pages 3–4 of this Order, involves a very different set of
circumstances than those before this Court. There the Government had direct evidence of knowledge and intent, and
admissions by Hough that were relevant to identity, and thus the need for the evidence was not great. 385 F. App’x
at 537. And on the seminal issue of unfair prejudice, the most recent allegations of child molestation were merely
reports, and thus unproven. Id. Testimony by the victims—still children—might shift the focus of the trial from the
federal charges (attempted receipt and possession of child pornography) to the prior acts, resulting in jury confusion.
Even though the prior acts would have been admissible under Rule 414, they nonetheless were properly excluded by
the trial judge under Rule 403. Id. at 536, 538

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regarding Count 3, which accuses Defendant of a violation of § 2260A. See United States v.

Never Misses A Shot, supra, 2013 WL 3872837, at *3. Regarding Defendant’s Motion to

Exclude, that Motion is well-taken with respect to any use of his prior conviction but denied with

respect to its underlying facts.

III.   CONCLUSION

       For the reasons articulated above, Defendant’s Motion to Sever is DENIED, but his

alternate Motion to Bifurcate (Doc. 19) is GRANTED; and Defendant’s Motion to Exclude Prior

Conviction (Doc. 25) is GRANTED IN PART and DENIED IN PART. With respect to the

United States’ Notice of Intent to Introduce Evidence Pursuant to F.R.E. 404(b)(2) (Doc. 27),

this Court determines that evidence of Defendant’s acts that underpin his 2005 state law

conviction will be ADMISSIBLE at trial for the sole purpose of identity.

       IT IS SO ORDERED.

       Dated: April 4, 2017                  S/Susan J. Dlott_____________________
                                             Judge Susan J. Dlott
                                             United States District Court




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